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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


MICHAEL KITCHEN

            Plaintiffs,
                                             CIVIL ACTION NO. 17-11627-GCS-APP
v.                                           HONORABLE GEORGE CARAM STEEH
                                             MAGISTRATE JUDGE ANTHONY P. PATTI
O’BELL T. WINN et. al

            Defendants.
                                      /


                           ORDER SETTING DEADLINES

      The Court hereby issues the following deadlines,




                 EVENT                                      DEADLINE
           Discovery Deadline                            November 6, 2018
        Dispositive Motion Cutoff                        December 6, 2018




      SO ORDERED.


Dated: September 11, 2018                 s/Anthony P. Patti
                                          ANTHONY P. PATTI
                                          UNITED STATES DISTRICT JUDGE
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I hereby certify that a copy of the foregoing document was mailed to the parties of record
on this date, September 11, 2018, by electronic and/or ordinary mail.


                                         s/Michael Williams
                                         Case Manager, (313) 234-5200
